          Case 23-31037-swe7          Doc 22 Filed 07/11/23 Entered 07/11/23 09:00:57                    Desc
                                     Letter RE deficiency (BK) Page 1 of 1
BTXN 027 (rev. 06/13)
                                         UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF TEXAS


In Re:                                                      §
Highland Select Equity Master Fund, L.P.                    §    Case No.: 23−31037−swe7
                                                            §    Chapter No.: 7
                                           Debtor(s)        §


Dear Mr. Seidel:

     The above referenced case has been reviewed as part of the Clerk's Office continuing effort to identify cases that
are deficient for specific documents. Our review indicates that this case requires:

                Interim Report
                Trustee's Final Account
                Trustee's Final Report
                341 Meeting Minute Sheet and Exempt Property Report
                Report of Trustee in No−Asset Case and Application for Closing
                Motion to Dismiss debtor's Failure to Attend 341 Meeting
                Other: The notice of meeting of creditors (rescheduled) to be re−docketed using the "Meeting of
                creditors continued/adjourned" event found under the Trustee/US Trustee category.

Please electronically file the requested documents, provide a specific date for which this information will be provided
to the Court, or provide information as to why this case should remain open. Failure to respond within 2 days from
the date of this letter may result in the Court setting a status conference to determine why the document(s) has not
been filed or the matter may be denied for want of prosecution.



DATED: 7/11/23                                   FOR THE COURT:
                                                 Robert P. Colwell, Clerk of Court

                                                 by: /s/Tracy Nunns, Deputy Clerk
                                                 tracy_nunns@txnb.uscourts.gov
